Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 1 of 51

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

LEON FRENKEL, ET AL.,

Plaintiffs, Case No.: 0:11-CV-62422-JIC
v.

JOHN P. ACUNTO, ET AL.,

Defendanis.
/

AFFIDAVIT OF JONATHAN BLOOM IN RESPONSE TO AFFIDAVIT OF
ATTORNEY’S FEES AND COSTS

BEFORE ME, the undersigned authority, personally appeared JONATHAN BLOOM,
ESQ., being first duly sworn, deposes and says:
l. My name is JONATHAN BLOOM and I am the attorney for Defendant, John P.

Acunto (“Acunto”), in the above-styled matter. I am over the age of 18 and have personal
knowledge of the facts and circumstances set forth in this Affidavit.

2. I was the Escrow Agent under a Settlement Agreement entered into by Acunto
and Plaintiffs, Leon Frenkel (‘Frenkel’) and Periscope Partners, P.P. (collectively, the
“Plaintiffs”), A copy of the Settlement Agreement is attached hereto as Exhibit “A.”

3. Under paragraph 11 of the Settlement Agreement, the parties agreed that
documents responsive to a Subpoena Duces Tecum that had been served on Citibank would be
produced by Citibank, and heid by me in trust. In the event the Settlement Agreement was
breached by Acunto, then the documents were fo be released from escrow and forwarded to

Plaintiffs’ counsel, Mark D. Kushner, Esq.

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 2 of 51
Case No.: 0:11-CV-62422-JIC

4, I have no personal recollection of ever having received the Citibank documents,
and my previous paralegal who would have been the person to file any documents received is no
longer with my firm.

5. Since Mr. Acunto apparently breached the Settlement Agreement in failing to pay
the amounts due, Mr. Kushner demanded that I release the Citibank documents from escrow and
immediately forward them to him.

6. Due to the fact that I am not simply an uninterested “escrow agent” but also
counsel to Acunto with the attendant fiduciary duties, I initially advised Mr. Kushner that since
Mr. Acunto, objected to my release of the documents unless a Court Order was provided.

7. Even though Mr. Acunto objected to the release of the Citibank documents, I
instructed my litigation paralegal, Susan Roy, to start gathering the Citibank documents in order
to bate stamp such documents. At such time, I was advised by my office staff that despite a
thorough investigation in my office, we could not find them anywhere.

8. I immediately advised Mr, Kushner that I was unable to locate the Citibank
documents in my office, but that I would not object to him issuing and serving a new Subpoena
on Citibank.

9, Rather than doing so, however, Mr. Kushner asked that we reach out to Citibank
and try to get the documents produced again, without the necessity of serving a new subpoena.

10. It literally took months to even get a response from Citibank. Mr. Kushner would
periodically reach out to me or my paralegal by e-mail or telephone to find out the status of the
documents, and I or my paralegal advised. that Citibank was being unresponsive. At the time,

Mr. Kushner was cooperative, and seemed to be willing for us to continue to reach out to

Page 2 of 6

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 3 of 51
Case No.: 0:11-CV-62422-JIC

Citibank, with the hopes that they would produce the documents. See sample of e-mail strings
attached hereto as Composite Exhibit “B.”

11. When it became clear that Citibank was not going to cooperate voluntarily, Mr.
Kushner, rather than simply serving a new Subpoena on Citibank, or even asking me to do so,
chose a much longer, more difficult, and substantially more expensive path: Mr. Kushner filed a
13-page Motion to Enforce Settlement Agreement and Motion to Compel Release of Citibank
Documents (the “Motion fo Compel”) [DE 139].

12. The Motion to Compel, among other things, requested the Court to compel me “to
forthwith release the Citibank Documents” and, absent timely compliance, order me “to appear
before the Court to explain the circumstances surrounding [my] . . . failure to comply.”

13. In essence, Mr. Kushner was seeking an Order from the Court directing me to
produce documents he already knew I could not locate and did not have.

14. In the Response to the Motion to Compel [DE 141], I advised that I had been
attempting to reach out to Citibank fo try to obtain a copy of the documents, that Citibank was
being unresponsive, that I would not object to Plaintiffs trying to obtain the documents directly
from Citibank, and that I would immediately produce the documents if and when I was able to
obtain and/or locate them.

15. Simultaneously with my filing the Response to the Motion to Compel, I filed a
Motion for Leave to Withdraw as Attorney for John P. Acunto (the “Motion to Withdraw”) [DE
140}.

16. Inthe Motion to Withdraw, I explained that irreconcilable differences had arisen
between me and Acunto, that I had been unable to reach him by e-mail or telephone, and that

Acunto owed me more than $24,000.00 in legal fees. I also stated that I was unable to locate the

Page 3 of 6

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 4 of 51
Case No.: 0:11-CV-62422-JIC

Citibank documents, but that I would raise no objection to Plaintiffs’ efforts to obtain the
documents directly from Citibank.

17. Importantly, the first time Mr. Kushner asked the Court to order me to “bear the
costs related to Plaintiff's efforts” to obtain the Citibank documents, and to “be responsible for
all damages suffered by Plaintiffs arising from” my failure to safeguard the documents, including
attorney’s fees, was in his Reply [to my Response] as to Motion to Enforce Settlement
Agreement and Motion to Compel Release of Citibank Documents and Request for Hearing [DE
146].

18. Thereafter, we appeared in Court and the Court directed Mr. Kushner to file an
Affidavit of Non-Payment [DE 153] and an Attorney Fee Affidavit [DE 154].

19. In his Attorney Fee Affidavit, Mr. Kushner indicates a total of 27.70 hours of
attorney time at a rate of $275.00 an hour related to the attempts made to obtain the Citibank
documents, for a total attorney’s fee amount of $7,507.50, plus costs of $35.00 related to
service of the replacement Citibank Subpoena, Attached to the Affidavit as an Exhibit is Mr.
Kushner’s timesheet.

20. In reviewing the timesheet it is clear to me that had Mr. Kushner simply served
Citibank with a new Subpoena at the minimal cost of $35.00, without filing the Motion to
Compel, a minimum of 15 hours of attorney time, or $4,125.00, could have been avoided
altogether, thereby substantially mitigating the alleged “damages,” because the only “damages”
alleged are the attorney’s fees and costs incurred.

21. Such mitigation is further demonstrated by the very last entry on Mr, Kushner’s
time sheet, dated August 3, 2016, wherein he notes that he received and made a preliminary

review of bank statements from Citibank.

Page 4 of 6

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 5 of 51
Case No,: 0:11-CV-62422-JIC

22. In addition, Mr. Kushner billed 4.1 hours to prepare and file a minimal 2-page
Response to the Motion to Withdraw [DE 147]. The Response does not contain any citations to
case law or statutes, and there is no reason why such Response should have taken 4.1 hours to
prepare and file, unnecessarily costing an additional $1,127.50 in legal fees.

23. It is, quite frankly, insulting that Mr. Kushner chose to pursue the path of filing
the Motion to Compel, to hold me responsible for his clients “damages” when the only damages
are the attorney’s fees incurred in filing a Motion that was both unnecessary and costly.

24, This is also after I had advised Mr. Kushner that my client owes me over
$24,000.00 in attorney’s fees, excluding the additional time I have incurred and continue to incur
to respond to the Motion to Compel, appear in Court for the hearing, and prepare and file this
Affidavit.

25.  Itis also not reasonable for Mr. Kushner to have charged the additional $1,127.50
for filing his response to my Motion to Withdraw, and I should not be responsible for same.

26. Due to the fact that I am owed a substantial amount of attorney’s fees from my
client that I will in all likelihood never be paid for, and because Plaintiffs’ only damages are the
attorney’s fees Mr. Kushner incurred, including those unnecessarily incurred by filing the
Motion to Compel, and further due to Mr. Kushner’s failure to mitigate the damages by simply
serving a new Subpoena on Citibank, this Court should not award Mr. Kushner or his client any
attorney’s fees against me personally.

27. In the alternative, the attorney’s fees incurred by Mr. Kushner could simply be
added to the Judgment amount already owed by Acunto to the Plaintiffs.

28. Asa further alternative, if this Court deems that any attorney’s fees should be

awarded against me personally due to my failure to safeguard the Citibank documents to the

Page 5 of 6

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 6 of 51
Case No.: 0:11-CV-62422-JIC

extent I received them, then Mr. Kushner’s fees should be substantially reduced by at least the
amount of $5,252.50 ($4,125.00 + $1,127.50), and that any fee awarded should, at a minimum,

be split evenly between me and my client.

FURTHER AFFIANT SAYETH NAUGHT.

By: <a
Jonathan Bloom

STATE OF FLORIDA )
88:
COUNTY OF PALM BEACH )
SWORN TO AND SUBSCRIBED before me this (@ day of August, 2016, by Jonathan
Bloom, who is CX personally known to me, or L] who produced as
identification.

Bm STACEY I rET6228 NOTARY PUBL Lk ATE OF F/os/
My cane PrintName: SHO CEL AlaAFIS

EXPIRES: FEB 19, 2017
My Commission Expires:_@2- /9-Z0/7

| ATS panded through 1st Stale insurance

eet

Page 6 of 6

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 7 of 51

EXHIBIT “A”

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 8 of 51

SETTLEMENT AGREEMENT

‘This Settlement Agreement (the “Agreement”) is made and entered into this ist day of
December, 2014 (hereinafter, “Effective Date”), by and between Leon Fretikel and Periscope
Partners, L.P. (collectively, the “J udgment Creditors”), and John P, Acunto, Absolute Partners, Inc.
and Absolute Pro Studios, Inc. (collectively, the “Judgment Debtors”).

RECITALS

A, On June 14, 2011, a Final Judgment was entered against the Judgment Debtors in the
United States District Court for the Eastern District of Pennsylvania in favor of the Judgment
Creditors (the “Pinal Judgment”).

B. On November 14, 2011, the Judgment Creditors filed the Final Judgment in the
United States District Court for the Southern District 6f Florida, and the matter was given the
following style: Leon Frenkel, et al v. John P. Acunto, et al, Case No. 11-62422-CIV-
COHN/SELTZER (the “Collection Proceedings”).

C. The cutrent amount due from Judgment Debtors to Judgment Creditors under the
Final Judgment is $1,047,302.87 (principal and accrued post-judgment interest 0f $962,717.91 plus
legal fees and costs of $34,5 84,96) (hereinafter “Judgment Balance”).

D. The patties are desirous of fully and finally resolving all of their disputes, including
‘those raised or which could have been: raised in connection with any collection of the Fimal
Judgment, including without limitation the Collection Proceedings, on the terms set forth in this
Agreement, .

NOW THEREFORE, in consideration af the covenants and agreements hereinafter:set forth,
and other good and. valuable consideration, the receipt and sufficiency of which are hereby

acknowledged by all parties, it is agreed by and among the parties hereto as follows:

Settlement Agreement [vid]
-l-

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 9 of 51

1. Recitals. The above Recitals are incorporated herein by reference.

2, Current Amounts Due. The Parties agree that the Judgment Balance is the total

amount due. from Judgment Debtors to Judgment Creditors under the F inal Judgment as of
November 3, 2014. Subject to.the terms of this Agreement, Judgment Creditors agree to accept a
discounted payment from Judgment Debtors as full and final settlement of the Judgment Balance.
Notwithstanding, in the event Judgment Debtors fail to timely pay the Settlement Sum (as defined
below) plus accrued interest by the Termination Date (as defined below) or otherwise default under
this Agreement following written notice fiom Judgment. Creditors (as described herein), the
Judgment Balance plus accrued interest less any amounts paid hereunder (hereinafter “Net Balance
Duc”) shall be iinmediately due and payable, and Judgment Creditors shall retain all rights under the
law, including, but not limited to, enforcement of the Net Balance Due. inthe Collection Proceedings.

3. Setilement Sum. The Judgment Debtors hereby agree to pay to the Judgment

Creditoés the-total:amount of $804,000.00 in full and final settlement ofall claims between them (the
“Settlement Sum”).

a The Settlement Sum shail accrue interest at the rate of twelve (12%) percent per
annum calculated on a daily basis commencing on the Effective Date on this amount legs any cash
distributions to the Judgment Creditors in accordance with this Agreement.

4, Payment of Settlement Sum.

a. The Settlement Sum plus accrued interest shall be paid by Judgment Debtors to
Judgment Creditors no Jater than nine (9) months from the Effective Date (hereinafter “T ermination
Date”), Ifthe Settlement Sum plus.any accrued interest is not paid ini full to the Judgment Creditors
by the Termination Date, Judgment Debtors shall be.in default ofthis Agreement. Notwithstanding,

in the event Judgment Creditors receive at least $600,000 of the Settlement Sum within nine (9)

Settlement Agreemont fy lO]
2

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 10 of 51

months fromthe Effective Date, the Termination Date shall be extended by an additional three (3)
months,

bd. Judgment. Debtors contemplate paying the Settlement Sum, plus any accrued interest,
via the liquidation of stock owned or controlled by Judgment Debtors. Judgment Debtors shall
transfer One Hundred (100) shares of preferred stock of Nyxio Technologies Corp. (the “Preforred
Shares”) (OTC: NYXO) into an account to be established at Morgan. Stanley (the “Stock Account”)
no later than Deeember 31, 2014 (the “Stock Transfer Date”).

c For purposes of calculation, all payments towards the Settlement Sum will apply first
to principal first and then to interest, which will continue to ‘accrue until paid in full.

5. Legal Opinion as to Unlimited Sale of Stock, As a condition to this Agreement

Judgment Debtors shall provide a legal opinion from a qualified securities law attotney (the
“Opinion”), satisfactory to Judgment Creditors, verifying Judgment Debtors’ righit to: a) transfer the
Preferred Shares into the Stock Account free and clear of any liens, claims, lockup agreements,
shareholder agreements, encumbrances ot restrictions; and b) allowing the immediate unlimited and
unrestricted tratisfer or public sale of the underlying sharés of common. stock of Nyxio Technologies.
Corp. (the “Comp any”) obtained upon.conversion ofthe Preferred Shares (the “Common Sto ck”) by
Escrow Agent (as defined below) in accordance with applicable state arid federal securities laws.or
pursuant to an exemption therefrom without compliance with the registration requirements of such
laws. The receipt of the Opinion is a material inducement to Judgment Creditors to enter into this
Agreement, anid the failure of J udgment Debtors to provide the Opinion no later than December 31,

2014, shall be anevent of default of this Agreeient, Judgment Debtors are notentitled to the notice
and cure periods outlined in Paragraph 17, below, in the event of breach of this Paragraph 5, and

Judgment Creditors shall have the right to the remedies outlined in Paragraph 18-.Defauit, below.

Settlement Agreement jvi0]
Je

Cc :11-cv- -
ase 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 11 of 51

6. Management of Stock. ‘The Stock Account shall be opened in the name of “Law

Offices of Jonathari Bloom, P.A., Trust Account f/b/o John P. Acunto,” and shall be managed by
Jonathan Bloom, Esq., Law Offices of J onathian Bloom, P.A. (“Escrow Agent’). Escrow Agent
shall sign this Agreement solely in his capacity as Escrow Agent and it is understood and agreed by
the parties hereto that Escrow Agent’s- only responsibilities and duties under this Agreement are
those as specifically set forth herein as Escrow Agents. At the time of opening the Stook Account,
Escrow Agent shall provide Morgan Stanley written authority for Leon Frenkel to manage the Stock
Accountand authorizing.Leon Frenkel to instruct Morgan Stanley directly when and how to sell the
Common Stock.
7, Sale of Stock, The Preferred Shares shall be held in the Stock Account for no longer
than the Termination Date, or aty extension thereof as set forth in Paragraph 4(a), above. Leon
Frenkel shall exercise his authority to sell such portion of the Common Stock as he deems
appropriate to do so, at any time within the teu of this Agreement, but no less than ten (10%) .
percent of the Stock per month, The proceeds of any such sale shatl’be distributed bi-weekdy by wire
transfer to the Judgment Creditors, as ditected by Leon Frenkel, upon written notice by the Escrow
Agent to the Judgment Debtors and Judgment Creditors. Prior authorization to release said sale
proceeds will not be required. judgment Creditors and Judgment Debtors shall both equally split the
broker fees and costs of any trades ef such Common Stock. Notwithstanding the foregoing, the
parties hereto-agree and understand that the common stock is very thinly traded without significant
volume with few, if any, shares traded on a daily, weekly, or even monthly basis. Accordingly, the
parties further agree and understand that selling and monetizing the Shares is not guaranteed and the
sélling of the Shares may depress of suppress the value of the Shares :in the market, and neither

Judgmerit Debtors nor J udgment Creditors shall have any recourse against Escrow Agent or Leon

Settidment Agreement {v10]

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 12 of 51

Frenkel for any such decrease in value, nor shail Escrow Agent or Leon Frenkel be-held liable for
any such decrease in value.

8, In thé event indgment Creditors are fully paid the Settlement Sum prior to the
Tetmination Date, less their one-half of the broker fees as set forth below inthis Paragraph, any and
all remaining Preferred Shares held by the Escrow Agent shall be returned to Judgmerit Debtors
subject to Judgment Creditors’ Conversion Option, as defined below. If at any time there is not
sufficient Preferred Shares to pay the full Settlement Sum or if substantially all of the Preferred
Shares has beeri sold:and the Judgment Creditors have not received the full Settlement Sum prior to
the Termination Date, the fudgment Debtors shall transfer additional shares of Preferred Shares to
the Stock Account or make a cash payment to Judgment Creditors to pay any remaining balance of

- the Settlement Sum.

9, Conversion Option, Judgment Creditors shall have an absolute right during the
initial nine.(9) month term of this Agreemenit to exercise an option to retain a portion of the unsold
Preferred Shares as full satisfaction of the Settlernent Sum: and interest as follows (the “Conversion
Option”):

The outstanding balance due on the Settlemont Sum at the time of exercising the Conversion
Option (calculated a3 the Settlement Sum plus accrued interest less all amounts received by
Judgment Creditors pursuant to this Agreement (the “Option Balance”) shall be satisfied via the
transfer of the amount of Preferred Shares from the Stock Account to Leon Frenkel or an account of
his choosirig, calculated as follows: The total numbet of Preferred Shares to transfer (the “Total
Option Shares”) shall be a) the number of Preferred Shares (including fractional amounts) equal to
the Option Balance (rounded up to the. nearest $1,000) at a valiie of $10,000 per one share of

preferred stock (the “Option Stock”), plus b) one half (1/2) of the remaining number of Preferred

Settlement Agreoment [v10]
Se

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 13 of 51

Shares in the Stock Account immediately preceding the exercise of the Conversion Option less the
Option Stock, An illustrative example of the Conversion Option is attached hereto as Exhibit “C.”

10, Prior authotization of Judgment Debtors for the Conversion Option shall not be
required. Judgment Creditors shall notify Judgment Debtors and Escrow Agent in writing of the
intent to exercise the Conversion Option. In such event, the completed transfer of Preferred Shares
as set forth in this section shall constitute a full satisfaction of the Settlement Sum plus any accrued
interest duosunder this Agreement.

11. Citibank Subp gena. Duting the course of the Collection Proceedings, a Subpoena
Duces Tecum was issued and served on Citibank, N.A. (the “Subpoena”). The parties agree that
Citibank shall be instructed by counsel for Judgment Debtors to produce all documents responsive to
the Citibank Subpoena to.counsel for Judgment Debtors and that counsel for Judgment Debtors shall
hold the Citibank Documents in trust. In the event Judgment Debtors timely pay Judgment Creditors
the Settlement Sum and accrued interest when due and otherwise comply with the terms of this
Agreement, counsel for Judgment Debtors shall, upon receipt of written confirmation from counsel
for Judgment Creditors, destroy the Citibank Documents or deliver same to the Jud pment Debtors.
In the event of Judgment_Debtors’ breach of this Agreement and Judgment Debtors failure to cure
such breach within ten (10) calendar days, counsel for Judgment Debtors shall forthwith forward the
Citibank Documents to counsel for Judgment Creditors,

12. Judgment Debtors and Non-Parties, Kaptiva Group, LLC, Chasin Records, LLC,
Johnkara, LLC and Chasin Music Group, Inc. (the “Non-Parties”), hereby expressly waive any

objections tothe production of the Citibank Documents.as required herein,

Settlement Agreenent [v10]
-6«

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 14 of 51

13. In furtherance of this Agreement, within five (5) days of the Effective Date, counsel
for Judgment Debtors and counsel for Non-Parties shall: filea Notice of Withdrawal of the pending
Motion.to Stay Order Denying Non-Parties’ [Renewed] Motions for Protective Orders and to
Quash Subpoena Duces Tecum (DE 123, hereinafter, the “Motion to Stay”), and the Objections to
Magistrate Judge’s Order Denying Non-Parties’ Renewed Motions for Protective Order and to
Quash Subpoena Duces Tecum (DE 124, the “Objections”) in the Collection Proceedings (or such
other documents.as reasonably necessary to inform the Court of Judgment Debtors’ and Non-Parties’
intention to abandon such Motion to Stay and Objections; notify Citibank, N.A. by e-miail, with a
copy to counsel for Judgment Creditors, that the Collection Proceedings have been conditionally
settled, that the Judgment Debtors and Novt-Parties have withdrawn the Motion to Stay, the
Objections and agree that the Citibank Documents should be produced to counsel for Judgment
Debtors subject to the terms of the this Agreement,

14. Mutual Releases. Simultaneously with the execution of this Agreement, the parties
hereto shall execute mutual Releases (the “Releases”) identical in form and substance to those
attached hereto as Composite Exhibit “A.” The Releases shall be held in escrow by the parties’
respective counsel, and shall be exchanged only after the Settlement Sum: has been paid in full by
Judgment Debtors, and all settlement documerits are executed by all parties and submitted to the
Cowt..

15. Dismissal of the Litigation without Prejudice. Simultaneously with the execution
of this Agicement, the parties, by and through their counsel, shall execute a Joint Stipulatiot for
Order Approving and Adopting Settlement Agreement as Order of the Court and Dismissal without
Prejudice, identical in form and substatice to: that attached hereto-as Exhibit “B” (hereinafter “Joint

Stipulation”). Counsel for the Judgment Creditors shall file the Joint Stipulation in the Collection

Settlement Agreement ivio]
-T-

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 15 of 51

Action. The pattiés hereto agree to act in good faith to take such actions as reasonably necessaty to
facilitate the Court’ acceptance:of the terms hereof, The terms and provisions of this Agreement
shall remain confidential and this Agreement shall not be filed with the Court, unless required by the
Court or if it is necessary for the Judgment Creditor to enforce terms, and provisions of this
Agreement.

16. Satisfaction of Judgment, Upon payment of the Settlement Sum and all conditions

of this Settlement Agreement have been satisfied, Judgment Creditors shall file and record a
Satisfaction of the Final Judgment in all Counties and in any jurisdiction where same has been
recorded.

17, Notice of Breach and Cure Period. In the event of Judgment Debtors’ breach of any

of the provisions of this Agreement (other than Paragraph 5) and Judgment Debtors’ failure to cure
such breach within ten (10) business days following written notice to Judgment Debtors.(via e-mail
to counsel for Judgment Debtors), the Judgment Debtors shall be in.defauit of this Agreement,
18. Default. Upon default, the Judgment Balance plus any accrued interest, less any
amounts. paid to Judgment Creditors under this Agreement shall remain due from the Judgment
Debtors to Judgment Creditors. In the event of default by Judgment Debtors, Judgment Creditors
shall be entitled to re-open the Collection Proceedings and seek all relief available to Judgment
Creators under the Final Judgment, this Agreement or otherwise available under the law.

19. Indemnification of Escrow Agents, The Judgment Debtors and Judgmient Creditors

agree to-indemnify and hold Escrow Agents harmless from any liability, loss, or. damage arising from.
or related to the management of the Stock Account and/or the sale of the Common Stock. The
Judgment Debtors and Judgment Creditors agree to indemnify and hold Escrow Agents harmless

from any liability, loss, or damage arising from or related to its performance as Escrow Agents under

Settlement Agreement ivi]
-8-

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 16 of 51

this Agreement.

20.. Prevailing Party Attorneys’ Fees, Should any party hereto be required to seek

judicial relief to enforce the terms of this Agreement, the prevailing party in. such proceedings shall
be entitled.to recover its attorneys’ fees and court-costs,. including fees and costs incurred at the trial
level and on appeal.

21. Modification of Agreement, This Agreement may be modified only upon a further

written agreement signed by all of the parties hereto.

22. Representation by Counsel. Fach party has read and. uinderstands cach and every
provision contained in this Agreement and has had the opportunity to seek the advice and.
representation of independent counsel. This Agreement contains the final and complete expression
of the agreement of the parties with respect to any of the parties’ disputes, including without
limitation all issues, claims, and demands whicl: were raised or which could have been raised in
connection with the Collection Proceedings.

23. Joint WorkProduct, This Agteementis the j oint work product of all parties hereto.
Accordingly, no term. or provision herein shall be-mote strictly construed against any one party on
ihe legal basis that a contract should be construed against the drafting party.

24. Time is of Essence, Time is of the essence of this Agreement and each and every

tet and condition and covenant contained herein.

25.  Inyalidity of Provision, Ifany provision of this Agréement is held to be invalid or
unenforceable by a court of competent jurisdiction, the other provisions. of this Agreement shall
remain in full force and effect.

26. Successors and Assigns. This Agreement shall be binding on all successors of

assigns of the parties.

Settlement Agreement [v10]
-9..

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 17 of 51

27, . Counterparts, This Agreement may be executed in several counterparts, each of
which shall constitute an original and all of which together shall constitute one and the same
instrument. This Agreement and any documents relating to itmay be executed and transmitted to any
other patty by facsimile or email of a.PDF, which facsimile or PDF shall be deemed to ‘be, and
utilized in all respects as, an original, wet-inked document.

28. Governing Law, The terms of this Agreement are to be governed according to. the

laws of the State of Florida.
29, Entire Agreement. This Agreement represents the entire agreement of the parties

hereto, and there are no other written or oral agreements upon which any of the parties has relied,

30. Further Assurances. The parties hereto shall execute all docuinenits necessary and
appropriate to finally settle this matter. The parties further agree to execute all documents necessary

and appropriate to effectuate the parties’ intentions hereunder.

31. WAIVER OF JURY TRIAL. EACH PARTY HERETO, KNOWINGLY,
VOLUNTARILY, AND INTENTIONALLY, WAIVES ITS RIGHT TO TRIAL BY JURY IN ANY
PROCEEDING ARISING OUT OF OR RELATING TO THIS AGREEMENT OR. THE

" RELATIONSHIP BETWEEN THE PARTIES,
IN WITNESS WHEREOE, the parties hereto have executed this Settlement Agreementas of

the ist day of December, 2014,

[signature pages follow]

Setflericht Agreement [vi0}
10»

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 18 of 51

Witnesses:
Periscope Partners, L.P.
ru veges
By!_¢ > é
y as
Ite & Bw evra Ver beeale

STATE OF PG, vusyluanin  )
l ) ss.

COUNTY OF Wc aang 4 ean }

Sworn to and subscribed before me this uf’ day of De cpnrbyey » 2014 by

Leek PrewleeR 08 Gestesch Pavbres of Periscope Partners, L.P., who personally
me, L} who is personally known to me, oF [1 who produced
as identification.

c\ Sets O

Print Name: TGixyald Frenke

Notary Public- Prd
My Commission Expires:

_COMMUMWEALTH OF PENNSYLVANIA,
NOTARIAL SEAL m8 '

JERROLO 8. FRANKEL, Nolary Public
Lower Merian Twp, Monigomary County
My Commission Explres Apri 3, 2076

appeared before

Settlement Agreement [v10]}

-|1-

Ca :11-cv- -
se 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 19 of 51

Witnesses:

Leon Frey te ms

we

STATE OF _ Pen nsy bverat 4)
} sc
COUNTY OF Me dead wel)

Sworn to and subscribed before me this yr day of Dee ewber , 2014 by Leon
Frenkel, who personally appeared before me, (1 who is personally known to me, or [_] who produced
as identification.

Print Name: <i Srp Aereua bee 0.
Notary Public- PAA

My Commission Expires:

WR ALY BP ih FFL ARIEA
NOTARIAL SEAL
JERROLD 8. FRANKEL, Notary Public
Lowar Merton Twp., Montgomery Gounly
My Commission Expires April 3, 2015 _-

Settlement Agreement [vL0]
12

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 20 of 51

Witnesses:

Nosh Conwduno

STATE OF FRORIBA )
. N\eekLonbun 88.4
COUNTY OF -PALM-BEAGEF 5
__ Sworm to d subscribed before me this 4 Otay of Y 2 LEAN Ly . , 2014 by
<Tehn (2 er, sla, las {EO of Absolute Partners, Ipe., who personally

is personally known to me, of who produced
i Comdd_. as identification.

L quirks be shor 2 i

Print Name:_b QANIC. pol
Notary Public-State of Plosida NOAH
My Comuiiission Expires: {O fea []

apPeerE before

LAURIE L HEARRELL
NOTARY PUBLIC
Macklenburg County
North Garolina
My Commission Explras October 4, 2017

Settlement Agreement , {y10)
-13-

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 21 of 51

Witnesses:

COUNTY OFPAEMBBACH-/T” )

Sworn to and,subsoribed before me tis 5 | day of ne PALIN h f A , 2014 by
D Aiows co im, as aE of Absolute Pro 8 ios, Inc,, who
who produced

Notary Publio-State ofFleride Ate}?
My Commission Expires: /D~4-19

LAURIE L HEARRELL
NOTARY PUBLIC
Méoklenburg County
North Carolina
My Commission Explres October 4, 2017

Settlement Agreement , [v10]
-14-

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 22 of 51

Witnesses:

eS : ia Bie Ff
hxsve- 6 Lane! ee LY
Nod, CounlinG
STATE. OF-FEORIBA- )

on Men — ) ss.
COUNTY OF PAEMBEACGHE ——)

Sworn to and subscribed before me this 4h -day of December _, 2014 by Joho P.
Acunto, who personally appeared before me, [ | who is personally known to me, or Lil who produced

FL OL as identification.
ELISA C LOZANO — j<—Lig Q_ © Lerch
Notary Public Print Name: HUSA Cu Ore an
Union Co., North Carolina Notary Public-State of Fierida—NL_
/ My Commission Explras Deo. 06, 2017 - My Commission Expires: | >| os | yO)
Settlement Agreement [vid]

“15+

Cc :11-cv- -
ase 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 23 of 51

Escrow Agent:

Witnesses:
Law Offices of Jonathan Bloom, P.A.

la

Its: Vs~asock Qu

STATE OF FLORIDA )
) 88.

COUNTY OF PALM BEACH )

Sworn to and subscribed before me this ‘ dayof_ Pex eite , 2014 by
,as of Law Offices of Jonathan Bloom, PA,

who personally appeared before me, Dkwho is personally known _to : LI who produced
as identification”

rint Name: St sa ke thy Le
Notary Public-State of Florida f
My Commission Expires:

SAN ROY
MY COMMISSION # F076363
EXPIRES: February 03, 2018

Settlement Agreement [v1]

-16-

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 24 of 51

Non-Parties Consent and Waiver:

Non-Parties, Kaptiva Group, LLG, Chasin Records, LLC, Johnkara; LLC and Chasin Music

Group, Ino. (the “Non-Parties”), hereby:

1.  Expressly consent to the terms of the above Settlement Agreement;

>,  Consenttotheir counsel of record, Bloom and Freeling, filing a Notice of Withdrawal
of the pending Motion to Stay Order Denying Non-Parties’ [Renewed] Motions for Protective
Orders and to:Quash Subpoena Duces Tecum (DE 123, hereinafter, the “Motion to Stay”), and the
Objections to Magistrate Judge’s Order Denying Non-Parties’ Renewed Motions for Protective
Order and to Quash Subpoena Duces Tecum (DE 124, the “Qbjections”) in the Collection
Pro ceedings (or such other documents as reasonably necessary to inform the Court of Non-Parties’
ittention to abandon such Motion to Stay and Objections; and

3.  Expressly waive. any objections to. the production of the Citibank Documents as

required by the terms of the v Settlement Agreement.

Dated as of this oe day of Leal ed , 2014.

Chasin Music Group, Zo

Settlenient Agreement [vid]
=| Fe

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 25 of 51

Composite Exhibit “A”

GENERAL RELEASE

Know All Men By These Presents, that John P. Acunto, an individual, Absolute Partners,
Inc,, and Absolute Pro Studios, Inc, (collectively, the “First Party”) for and.in consideration of the
gum of Ten ($10.00) Dollars and other good and valuable consideration, received by First Party from
Leon Frenkel, an individual, and Periscope Partners, LP. (collectively, the “Secorid Party”), the
receipt and sufficiency of which is hereby acknowledged, does

(Wherever used heréin the terms "First Party" and "Second Party"

shall include singular and plural, heirs, legal representatives,

agents, attorneys and assigns of individuals, and the subsidiaries, -
affiliates, parent corporations, an professional associations and

gach of their respective present and former officers, agents,

employeés including, but not limited to, shareholders, partners,

directors, attorneys, insurers, sureties, successors and assigns of

corporations, partnerships, agencies, or political bodies, wherever

the context so- admits or requires.)

Hereby temise, release, acquit, satisfy and forever discharge the Second Party of and from
all, and all. manner of action and actions, cause and causes of action, suits, debts, dues, sums of
money,. accounts, reckonings, bonds, bills, specialties, covenants, contracts, controversies,
agreements, promises, variances, trespasses, damages, costs (including attorneys’ fees, expert fees:
and out of pocket expenses), pte and post-judgment interest, obligations, losses, or loss of services,
expenses, compensation, judgments, executions, claiins-and demands whatsoever, in ‘law or in
equity, which said First Party ever had or now has against the Second Party, or which any personal

représentative, successor, heir or assign of said First Party hereafter can, shall or may have against
the Second Party, for, upon or by reason of any matter, cause or things unforeseen, from the
begitiiing of the world to the day of these presents, including, but not limited to, all issues, causes,
claims, counterclaims, set-offs, and allegations which were raised or could have been raised in,
relating to, ot atising. out of that certain action filed in the United States. District Court, Southern
District of Florida, styled: LEON FRENKEL, ET AL, v. JOHN P. ACUNTO, ET AL., Case No. 11-
62422-CIV-COHN/SELTZER.

[signature pages follow] .

Settiément Agreement vid]
~LB-

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 26 of 51

Witnesses:

LS
eset & V. LG tfSEM

‘grate or Notth Caroling
. } ss.
COUNTY OF WO) om J

Sworn te and subscribed before me this.

John i Aewrre __as_ CED

ts:

TORE:
we CEO

tay of DpDeCemleer _—__, 2014 by

_of Absolute Partners, Inc., who personally

‘appeared before me,
e DH L-

Ll who is personally known to me, of

who produced
as identification.

-' ERISA LOZANO
___ Notary Public
____UnlonGo., North Garolina

hy Commissten Expires Deo. 05,.2017

Settlement Agreement

OG Jesag Co Lez”
Print Name:_ AZO S 4 Cte
Notary Public-State of Nee

My Commission Expires: | sos [ORT

{v10]
af 9.

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 27 of 51

Wittiesses:

ani a >

sratp or Nott Gusting |
. ) ss.:
COUNTY OF (Lon1o )

Sworn to and subscribed before me this oy ch day of De Crmnlest~ _, 2014 by

Joho ¥ Proeant®_, as CAD TO of Absolute Pro Stydios, Inc., who.
personally appeared. before me, {] who is personally knowh to me, or who produced

Fi . (ob-— as identification.

ELISA © LOZANO Print Name:_<=0S4  C. beZeaG

“Notary Public Notary Public-State of __ MC_—
Union Co, Norn Carona My Commission Expires: |>-/0S/YO{7 -
| my Camnenisaion Expifas bee: 06,2017 |
Settlement Agreement , [v10]

-20-

Case 0:11-cv- -
11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 28 of 51

Witnesses:

STATE OF Act? 0

4 by John P,

Sworn to.and subscribed Yefore me tis So
Acunt who personall appeared before me, LJ who is petsonally known to me, orl Zino produced

Eur Ce. O inta's Vi sod has identification.

Pant Name: Bi eI feta FPL
Notary Public-State of afte
My Commission Expires: De / i i}

LAURIE L HEARRELL
NOTARY PUBLIC:
| Mecklenburg County
North Carolina
‘My Commission Expires October 4, 2017

Setilement Agreement {v10]

i

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO, 11-62422-CIV-COHN/SELTZER
LEON FRENKEL, ET AL,

- Plaintiffs,
Vi.

JOHN P, ACUNTO, ET AL.
Defendants.

i

JOINT STIPULATION FOR ORDER: APPROVING AND ADOPTING
SETTLEMENT AGREEMENT AS: ORDER OF COURT AND DISMISSAL
WITHOUT PREJUDICE

Page 29 of 51

Plaintiffs, LEON FRENKEL and PERISCOPE, PARTNERS, LP, and Defendants, JOHN P,

ACUNTO, ABSOLUTE PARTNERS, INC,, and ABSOLUTE PRO STUDIOS, INC., and by and:

through their undersigned counsel, hereby stipulate and agree as follows:

1, On December 1, 2014, the parties entered into a Settlement Agreement that resolves

this pending action.
2. Pursuant io the terms of thie Settlement Agreement, the parties:
a, - Laquidated the amount due under the subject Judgment plus accrued interest and

attorneys’ fees to date;

b. Negotiated a Settlement Sum and the terms for payment of same;

c Fully resolved the dispute regarding the Citibank Subpoena and the pending

Objections to Magistrate Order (DE 124) with Non-Parties agreeing to withdraw the

Objections;

/ Settlemént Agreement,
-22-

[vid]

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 30 of 51

d, Agreed to the dismissal of the action without. prejudice with the Court to retain
jurisdiction to enforce the terms of the Settlement Agreement; and

® To submit this Joint Stipulation to the Court secking entry of the proposed Order
Approving and Adopting Settlement Agreement and fot Dismissal without Prejudice, a copy
of which is attached hereto.

3, To the-extent the- Court requires a review of the Settlement Agreement, the parties

respectfully request the Court conduct an in camera inspection to protect the confidential terms of

the agreement.
Respectfully Submitted,
KUSHNER LAW, P.t. [BLOOM & FREELING
s/ Mark D. Kushner. | s/L. Rachel Doinick
Florida Bar Number: 21056 [Florida Bar Number: 898392
12555 Orange Drive, Suite 211 2295 NW Corporate Blvd, Suite 117
Davie, FL 33330 Boca Raton, FL33431-7330 .
Telephone; (954) 862-1430 561-864-0000
mdk@mkushnerlaw.com dolnicklaw@bellsouth.net
Counsel for Plaintiffs Co-Counset for Defendants and Non-Parties

Settlement Agreement [v10]
Du

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 31 of 51

GENERAL RELEASE

Know All Men By These Presents, that Leon Frenkel, an individual, and Periscope Partners,
LP. (collectively, the “First Party”), for and:in consideration of the sum of Ten ($10.00) Dollars and
other good and valuable consideration, received by First Party from J ohn P. Acunto, an individual,
Absolute Partners, Inc., and Absolute Pro Studios, Inc, (collectively, the “Second Party”), the receipt
and. sufficiency of which is hereby acknowledged, docs

(Wherever used herein the terms "First Party" and "Second Party"
shall include singular and plural, heirs, legal representatives,
agents, attorneys and assigns of individuals, and the subsidiaries,

' “gffiliates, parent corporations, an professional associations and
each of their respective present and former officers, agents,
employees including, but not limited to, shareholders, partners,
directors, attorneys, insurers, sureties, successors arid assigns of
corporations, partnerships, agencies, or political bodies, wherever
the context so admits of requires.)

Hereby remise, release, acquit, satisfy and forever discharge the Second Party of and from
all, and. all:manner of action and actions, cause and causes of action, suits, debts, dues, sums of
money, accounts, reckonings, bonds, bills, specialties, covenants, contracts, controversies,
agreements, promises, variances, trespasses, damages, costs (including attorneys’ fees, expert fees
and out of pocket expenses), pre and post-judgment interest, obligations, losses, or loss of services,
expenses, compensation, judgments, executions, claims. and-demands whatsoever, in law or ifl

equity, which said First Party ever had or now has against the Second Party, or which any personal
representative, successor, heir or assign of said First Party hereafter can, shall or may have against
the Second Party, for, upon or by reason of any matter, cause or things unforeseen, from the
beginning of the world to the day of these presents, including, but not limited to, all issues, causes,
claims, counterclaims, set-offs, and allegations which were raised or could have been raised in,.
relating to, or atising out of that certain action filed in the United States District Court, Southern
District of Florida, styled: LEON FRENKEL, ET AL. v. J OHN P. ACUNTO, ET AL., Case No. 11-
62422-CIV-COHN/SELTZER. |

[signature pages follow]

Settlement Agreement [v10}
24.

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 32 of 51

Witnesses:
Periscope Partners, L.P.
By:
its:

STATE. OF » .

) ss.
COUNTY OF 3
Sworn to and subscribed before me this ____ day of , 2014 by

as of Periscope Partners, L.P., who personally
[} who is personally known to me, or C1 who produced
as identification.

appeared. before ime,

Print Name:_.
Notary Public-. State of
My Commission Expires:

Settlement Agreement fv]

D5.

Case 0:11-cv-62422-
422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 33 of 51

Witnesses:

ee

- Leon Frenkel

STATE OF _)
}. 88.
COUNTY OF )

Swotn to.aind subscribed before me this day of , 2014 by Leos
Frenkel, who personally app eared before me, [_| who is personally known to me, or L_lwho produced
as identification.

eo

Print Name? __
Notary Public- State of

a

My Commission Expires:

Settlement Agreement fvt0}
26-

Ca :11-cv- -
se 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 34 of 51

UNITED STATES DISTRIGT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 4 4-62422-CIV-COHN/SELTZER
LEON FRENKEL, ET AL.

Plaintiffs,
VS.

JOHN P, ACUNTO, ET AL.

Defendants.
/

ORDER APPROVING AND. ADOPTING SETTLEMENT AGREEMENT. AND. DISMISSAL.
WITHOUT PREJUDICE

THIS GAUSE jis before the Court on the Joint Stipulation for Order Approving and
Adopting Settlement Agreement as Order of Court and Dismissal Without Prejudice (DE },and,
the Courthaving reviewed and considered the relevant filings and being otherwise fully advised;
itis hereby ORDERED that: ,

1. The: Settlement Agreement is hereby approved and adopted as an order of the.
Court. |

2. This action Is hereby dismissed without prejudice, with each party to bear fees

and costs in accordance with the terms of the Settlement Agreement,

3. This matter shall be deemed. closed for administrated purposes only. The Court
retains jurisdiction to enforce the terms ofthe Settlement Agreement and to enter such further
orders as may be necessary and proper.

DONE AND: ORDERED in Fort Lauderdale, Florida, this___ day of ,
2074.

SARRYS SELIZER.
CHIEF UNITED:STATES MAGISTRATE JUDGE

Copies to: All Counsel of Record

Settlement Agreement [y10}
27

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 35 of 51

EXHIBIT seuss

CONVERSION OPTION
ILLUSTRATIVE EXAMPLE

@ Notice of intent to-oxercise Conversion Option provided.to Judgment Creditors and Escrow Agent seven
months following the Effective Date}

* After7 months, $404,000 paid to Fudgment Creditors fo date, accrued interest $45,000, and 55 Shares
Preferred Shares in Stock Account at time of notice;

+ “Option Balanice” ~ $445,000-($804,000 + 45,000 - $404,000);
* “Option Shares” = 44.50 preferred Shares ($445,000/10,000);
~ ‘Remaining Shares” = 9.5 (55 ~ 44.50)

» “Total Option Shaves” = 49,50 Shares (44,50 plus 5.25 preferred shares - 1/2-0f 9.5)

Settlement Agreement [vid]
-28- .

Case 0:11-cv- -
62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 36 of 51

GENERAL RELEASE

i .

Know All Men By These Presents, that Leon Frenkel, an individual, and Periscope
Partners, L.P. (collectively, the “First Party”), for and in consideration of the sum of Ten
($10.00) Dollars and other good and valuable consideration, received by First Party from Jolm P.
Acunto, an individual, Absolute Partners, Inc., and Absolute Pro Studios, Inc, (collectively, the
“Second Party"), the receipt and sufficieney of which is hereby acknowledged, does

(Wherever used herein the terms "First Party" and “Second
Party" shall include singular and plural, heixs, legal
representatives, agents, attorneys and assigns of individuals,
and the subsidiaries, affiliates, parent carporations, an
professional associations and each of their respective present
and former officers, agents, employees including, but not
limited to, shareholders, partners, directors, attorneys, insurers,
sureties, successors and assigns of corporations, partnerships,
agencies, at political bodies, wherever the context so adinits or
requires.)

Hereby remise, release, acquit, satisfy and forever discharge the Second Party of and
* from all, and. all manner of action and actions, cause and causes of action, suits, debts, dues,
suns of money, ‘accounts, reckonings, bonds, hills, specialties, covenants, contracts,
controversies, agreements, promises, variances, (espasses, damages, costs (including attorneys’
fees, expert fees and out of pocket expenses), pre and post-judgment interest, obligations, losses,
or loss of services, expenses, compensation, judgments, executions, claims and demands
whatsoever, in law or in equity, which gaid First Party ever had or now has against the Second
Party, or which any personal representative, successor, heir or assign of said First Party hereafter
can, shall or may have against the Second Party, for, upon or by reason of any miatter, cause or
things unforeseen, from the beginning of the world to the day of these presents, including, but
not limited to, all issues, causes, claims, counterclainis, set-offs, and allegations which were
raised or could have been raised in, relating to, or arising out of that certain action filed in the
United States District Court, Southern District of Florida, styled: LEON FRENKEL, ET AL. v.
JOUN P, ACUNTO, ET AL., Case No, 11-62422-CIV-COHN/SELTZER.

[signature pages follow]

General Release
Page | of 3

Case 0:11-cv-62422-JIC Document 155

Witnesses:

STATE OF D vans ylvauta. )

) ss.:

COUNTY OF N\ on Kae wart }

Sworn to and subscribed befora
ou iret , a5
personally appeared before me,

Oe

(_] who is personally known to mis, OF

Entered on FLSD Docket 08/12/2016 Page 37 of 51

Periscope Partners, L.P.
; _

me this gs day of Deceube ¢ , 2014 by
Cu of Periscope Partners, L.P., who
[1 who produced

as identification.

Print Name: p nye Cy
Notary Public- State of Pid

My Commission Expires:
COMMONWEALTH OF PENNSYLVANIA,

NOTARIAL SEAL
JERROLD B. FRANKEL, Notary Poblls
Lower Merion Twp, Monigomory County
__._ My Gommisston Expires Ant 3, 2018

General Release
Page 2 of 3

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 38 of 51

Witnesses: ”
an

STATE OF lunar  )
) sa.
COUNTY OF Maul anesty )

Sworn to and subscribed before me this { day of Be ces om , 2014 by
Leon Frenkel, who personally appeared before me, who is personally known to me, or who
produced as identification.

— >)
PrintName: Guerre Wray 9
Notary Public- State of pe

My Commission Expires:
LYHLOP PENNSYLVANIA _
NOTARIAL SEAL

JERROLD B, FRANKEL, Notary Public

Lowar Merion Twp., Monigomary County
My Gommisslan | Expires April 3 2018

General Release
Page 3 of 3

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 39 of 51

GENERAL RELEASE

i

Know All Men By These Presents, that John P, Acunto, an individual, Absolute Parinérs,
Inc., and Absolute Pro Studios, Inc. (collectively, the “First Party”) for and:in consideration of
the sum of Ten ($10.00), Dollars and other good and valuable consideration, received by First
Party-from Leon Frenkel, an individual, and Periscope Partners, L.P. (collectively, the “Second
Party”), the receipt and sufficiency of which is hereby acknowledged, does

(Wherever used herein the terms "First Party" and "Second
Party” shall include singular and plural, heirs, legal
representatives, agents, attorneys and assigns of individuals,
and the subsidiaries, affiliates, parent corporations, an
professional associations and each of their respective present
and fotmer officers, agents, employees including, but not
timited to, shareholders, partners, directors, attorneys, insurers,
sureties, successors and assigns of corporations, partnerships,
agencies, or political bodies, wherever the context so admits or
requires.)

Hereby remise, release, acquit, satisfy. and forever discharge the Second Party of and

from all, and all manner of action and.actions, cause and causes of action, suits, debts, dues,

sums of money, accounts, reckonings, bonds, bills, specialties, coveftants, contracts,
controversies, agreements, promises, variances, trespasses, damages, costs (including attorneys’
fees, expert fees and. out of pocket expenses), pre and post-judgment interest, obligations, losses,
- ot loss of services, expenses, compensation, judgments, executions, claims and demands
whatsoever, inlaw o1 in equity, which said. First Party ever had or now has against the Second
Party, or which any personal representative, successor, heir or assign of said First Party hereafter
cat, shall or may have against the Second Party, for, upon or by reason of any matter, cause or
things unforeseen, from the beginning of the world to the day of these presents, including, but
not limited to, all issués, causes, claims, counterclaims, set-offs, and allegations which were
raised or could have been raised in, relating to, or arising out of that certain action filed in the
United States District Court, Southern District of Flotida, styled: LEON FRENKEL, ET AL. v.
JOHN P.. ACUNTO, ET AL., Case No. 11-62422-CIV-COHN/SELTZER.

[signature pages follow]

General Release
Page |.of 4

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 40 of 51

Witnesses:

STATEOF Notts Carling

: ) ssi:
COUNTY OF WInieO™ i)

Sworn to and subscribed. before me this 4h day of Pece nye , 2014
by John? ApCLND _, as. CEO of Absolute Partners, Inc., who
‘personally a peared: before me, CL] who is personally known to me, or JA] who produced

» Yo _____ a8 identification.
Siugg CC leew
= Print Name:_4= lima Co Eze
Bape | Notary Public-State of Ku
1 Union Co., North Caratina My Commission Expires: los ON
My Commission Explras Nec. 05,2017

General Release
Page:2 of 4

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 41 of 51

Witnesses:

dios, lic.
Ol A

“statzor Morlh Cosoli of
‘ ) ssa
COUNTY OF UnNicoO — jy

Sworn to and. subscribed before me this AM aay of De denne _, 2014 by

Jobo 6 Acuald , as CED of Absolute Pro Stydios, Inc., who
personally appeared before me, [J who is personally known to. me, or [Mi who produced
Ake DLE as identification.

- Gueigq Co barge

ELISA CLOZANO Print Name: A113 & C.kStenh

otary Public Notary Public-State of _ b«

Union Co., North Caratin smmission Expires: ~ Ormqyt

My Commission xpita9.De0. 05 2017 . My Commission Expires: (p> {ass | QONT]

General Release

Page 3 of 4

Case 0:11-cv-62422-JIC Document 155

Witnesses:

Entered on FLSD Docket 08/12/2016 Page 42 of 51

Swom to and subscribe
John P. Acunto, w
who produced

before me this ,
Pa ppeared os
Aen ‘Ss

(hy of Qranenber 2014 wy
re me, LJ who is tsonalls known ‘fo me, or
oa _ 88 identification.

Louse Lk leant

Print Name:_A quit: & be. Morr el ed {
Notaty Public-State of
My Commission Expires: /®~] of ~{)

“LAURIE L HEARRELL
NOTARY PUBLIC
Mecklenburg County
North Caroilna
My Commission Expiras October 4, 2017 |

General Release

Page 4 of 4

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 43 of 51

EXHIBIT “B”

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 44 of 51

Stacey Nafis

From: Stacey Nafis <snafis@bloom-freeling.com>

Sent: Tuesday, July 12, 2016 3:38 PM

To: mdk@mkushnerlaw.cony Jonathan Bloom

Cc: Rachel Dolnick

Subject: ~ RE: Frenkel/Acunto : Service of Notice of Issuance of Subpoena to Citibank

i placed a call to Citibank and left a message to confirm they would accept emailed subpoena — | have not received a
response. | will follow up again and advise.

Thank you,

Stacey Nafis, Paralegal

Bloom & Freeling

Attorneys At Law

2295 NW Corporate Blvd., Suite 117
Boca Raton, Florida 33431

Tel: 561-864-0000

Fax: 561-864-0001

This transmission is intended solely for the recipient who it is addressed to and the information contained in this
message is legally privileged and confidential information. If the reader of this message is not the designated
recipient, be aware that any disclosure, copying, distribution or use of the contents of this information is
prohibited. If you have received this message in error, please notify our office by telephone at (561) 864-0000
and destroy all copies of this message and any file attachments. Thank you.

From: Mark D. ‘Kushner mailto: mdk@mkushnerlaw. com]
Sent: Tuesday, July 12, 2016 3:34 PM

To: Jonathan Bloom

Cc: Rachel Dolnick; Stacey Nafis

Subject: RE: Frenkel/Acunto : Service of Notice of Issuance of Subpoena to Citibank

Do you have an update for me vis-a-vis Citibank accepting the subpoena?

Mark D. Kushner, Esq.

Kushner Law, P.L.

42555 Orange Drive, Suite 211

Davie, Florida 33330

Telephone 954-862-1430

Fax No.: 954-862-1431

Email: mdk@mkushnerlaw.com

www.mkushnerlaw.com

AV® Preeminent™ Rated by Martindale-Hubbell®

This message be used exclusively by the addressee(s}. This message may contain information that is privileged,
confidential and exempt from disclosure under applicable law. Unauthorized disclosure or use of this information is
strictly prohibited. If you have received this communication in error, please permanently dispose of the original
message and notify Mark D. Kushner immediately at 954-862-1430, Thank you.

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 45 of 51

From: Jonathan Bloom [mailto:jbloom @bloom-freeling.com]

Sent: Friday, July 8, 2016 5:56 PM

To: mdk@mkushnerlaw.com

Cc: Rachel Dolnick <RDalnick@bloom-freeling.com>; Stacey Nafis <snafis@bloom-freeling.com>
Subject: Re: Frenkel/Acunto : Service of Notice of Issuance of Subpoena to Citibank .

Stacey please see below and speak with that person at Citi to see if they will accept it via email and let me and Mark
know thx

Jonathan Bloom, Esq.

Bloom & Freeling

Attorneys At Law

- 2295 NW Corporate Blvd.
Suite 117

Boca Raton, Florida 33431
Tel: 561-864-0000

Fax: 561-864-0001
ibloom@bioom-freeling.com

On Jul 8, 2016, at 3:49 PM, Mark D. Kushner <mdk@mkushnerlaw.com> wrote:

Jonathan:

Attached hereto is the Notice of Issuance with the replacement Citibank Subpoena attached. Please
inquire if Citibank will accept this via e-mail without the need for formal service to avoid the additional
costs related ta same.

Contact me with any questions.

Mark D. Kushner, Esq.

Kushner Law, P.L.

12555 Orange Drive, Suite 211

Davie, Florida 33330

Telephone 954-862-1430

Fax No.: 954-862-1431

Email: mdk@mkushnerlaw.com

www. imkushnerlaw.com

AV® Preeminent™ Rated by Martindale-Hubbell®

This message be used exclusively by the addressee(s). This message may contain information that is
privileged, confidential and exempt from disclosure under applicable law. Unauthorized disclosure or
use of this information fs strictly prohibited. If you have received this communication in error, please
permanently dispose of the original message and notify Mark D. Kushner immediately at 954-862-
1430, Thank you.

<ACUNTO - Notice_of Issuance_of Subpoena_Duces_Tecum_directed_to_Citibank_2.pdf>

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 46 of 51

Stacey Nafis

From: Stacey Nafis <snafis@bloom-freeling.com>
Sent: Tuesday, August 02, 2016 2:13 PM

To: mdk@mkushnerlaw.com

Cc: Jonathan Bloom

Subject: Frenkel v Kushner

Good afternoon Mr. Kushner —

Please be advised that we have been in contact with the representative from Citibank with regard to the
above referenced matter and subpoena served upon them July 19, 2016.

We have been advised that the bank statements requested are ready and have been sent to your office today
via overnight delivery (UPS tracking #1Z50E7310102425323). All back dated material including but not limited
to the signature cards are maintained in a storage facility whereby the records would need to be located,
retrieved and copied before they will be available. This process generally takes 30 days minimum. Ms. Perez
has advised that she made the request on July 20, 2016 however does not expect to have the documents
available until approximately August 19, 2016.

Our office will be following up with Ms. Perez on the 19" to get an updated status of all outstanding
documents.

Should you have any questions, please do not hesitate to contact our office.

Thank you,

Stacey Nafis, Paralegal

Bloom & Freeling

Attorneys At Law

2295 NW Corporate Blvd., Suite 117
Boca Raton, Florida 33431

Tel: 561-864-0000

Fax: 561-864-0001

This transmission is intended solely for the recipient who it is addressed to and the information contained in this
message is legally privileged and confidential information. Ifthe reader of this message is not the designated
recipient, be aware that any disclosure, copying, distribution or use of the contents of this information is
prohibited. If you have received this message in error, please notify our office by telephone at (561) 864-0000
and destroy all copies of this message and any file attachments. Thank you.

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 47 of 51

Stacey Nafis

From: Stacey Nafis <snafis@bloom-freeling.com>
Sent: Tuesday, June 21, 2016 4:42 PM

To: mdk@mkushnerlaw.com

Ce: Jonathan Bloom

Subject: FW: Citibank ref# 12,14271 Re: Frenkel v. Acunto

Good afternoon Mr. Kushner —

Please be advised that we have reached out to Citibank in an effort to retrieve the documents. Their response can be
found below.

Should you have any questions, please do not hesitate to contact our office.
Thank you,

Stacey Nafis, Paralegal

Bloom & Freeling

Attormeys At Law

2295 NW Corporate Blvd., Suite 117
Boca Raton, Florida 33431

Tel; 561-864-0000

Fax: 561-864-0001

This transmission is intended solely for the recipient who it is addressed to and the information contained in this
message is legally privileged and confidential information. If the reader of this message is not the designated
recipient, be aware that any disclosure, copying, distribution or use of the contents of this information is
prohibited. If you have received this message in error, please notify our office by telephone at (561) 864-0000
and destroy all copies of this message and any file attachments, Thank you.

From: Kennedy, Marilyn [mailto:marilyn.kennedy@citi.com]
Sent: Tuesday, June 21, 2016 4:11 PM

To: Stacey Nafis

Subject: RE: Citibank ref# 12.14271 Re: Frenkel v. Acunto

Stacy,
It has been over a year since records were produced. You can serve a new subpoena requesting records to:

Citibank, NLA.

c/o Legal Services intake Unit
701 £. 60th St., N,

Mail Code 1251

Sioux Falis, SD 57117

Fax 347-809-6937

Once received your subpoena will be assigned.

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 48 of 51

Thank you,

Marilyn Kennedy
Litigation Support Unit

100 Citibank Dr. Bldg 1 Fl. 2
San Antonio, TX 78245

Ph: 210.677.1879

From: Stacey Nafis [mailto:snafis@bloom-freeling.com]
Sent: Tuesday, June 21, 2016 2:36 PM

To: Kennedy, Marilyn [LEGL]

Subject: FW: Citibank ref# 12.14271 Re: Frenkel v. Acunto

Good afternoon Ms. Kennedy —

It is my understanding that you were out of the office for some time. | wanted to send a follow up to my request of April
4, 2016 {see below} in an attempt to secure the documents requested. If you would be so kind as to assist, | would
greatly appreciate it.

Thank you,

Stacey Nafis, Paralegal

Bloom & Freeling

Attorneys At Law

2295 NW Corporate Blvd., Suite 117
Boca Raton, Florida 33431

Tel; 561-864-0000

Fax: 561-864-0001

-This transmission is intended solely for the recipient who it is addressed to and the information contained in this
message is legally privileged and confidential information. [the reader of this message is not the designated
recipient, be aware that any disclosure, copying, distribution or use of the contents of this information is
prohibited. If you have received this message in error, please notify our office by telephone at (561) 864-0000
and destroy all copies of this message and any file attachments. Thank you.

From: Stacey Nafis

Sent: Thursday, April 14, 2016 9:54 AM

To: ‘marilyn.kennedy@citi.com'

Subject: FW: Citibank ref# 12,14271 Re: Frenkel v. Acunto

Fourth Request — please contact our office regarding the below request as soon as possible. Thank you.

From: Stacey Nafis

Sent: Friday, April 08, 2016 3:26 PM

To: 'marilyn.kennedy@citi.com’

Subject: FW: Citibank ref# 12.14271 Re: Frenkel v. Acunto

Good afternoon Ms. Kennedy —

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 49 of 51

Please allow this to serve as my third request with regard to the above referenced matter. | have been attempting to
contact you both via telephone and email to no avail. If you would be so kind as to contact me upon receipt of this
correspondence so that | may speak with you about this rather urgent matter, | would greatly appreciate it.

Thank you,

Stacey Nafis, Paralegal

Bloom & Freeling

Attorneys At Law

2295 NW Corporate Bivd., Suite 117
Boca Raton, Florida 33431

Tel: 561-864-0000

Fax; 561-864-0001

This transmission is intended solely for the recipient who it is addressed to and the information contained in this
message is legally privileged and confidential information. If the reader of this message is not the designated
recipient, be aware that any disclosure, copying, distribution or use of the contents of this information is
prohibited. If you have received this message in error, please notify our office by telephone at (561) 864-0000
and destroy all copies of this message and any file attachments. Thank you.

From: Stacey Nafis

Sent: Wednesday, April 06, 2016 1:45 PM

To: 'marilyn.kennedy@citi.com’

Subject: FW: Citibank ref# 12.14271 Re: Frenkel v. Acunto

Good afternoon Ms. Kennedy —

Please allow this to serve as a follow up to my email of April 4, 2016 with regard to the above referenced matter. Please
advise the status of forwarding the requested documents at your earliest convenience.

Thank you,

Stacey Nafis, Paralegal

Bloom & Freeling

Attorneys At Law

2295 NW Corporate Blvd, Suite 117
Boca Raton, Florida 33431

Tel: 561-864-0000

Fax: 561-864-0001

This transmission is intended solely for the recipient who it is addressed to and the information contained in this
message is legally privileged and confidential information. If the reader of this message is not the designated
recipient, be aware that any disclosure, copying, distribution or use of the contents of this information is
prohibited. If you have received this message in error, please notify our office by telephone at (561) 864-0000
and destroy all copies of this message and any file attachments. Thank you.

From: Stacey Nafis
Sent: Monday, April 04, 2016 1:21 PM

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 50 of 51

To: 'marilyn.kennedy@citi.com'
Subject: Citibank ref# 12.14271 Re: Frenkel v. Acunto

Good afternoon Ms. Kennedy —

Please allow this to serve as a follow up to my voice mail message left earlier today with regard to the above referenced
matter. [am the new litigation paralegal here at Bloom & Freeling. It is my understanding that you had assisted in the
compliance of the attached subpoena and records were forwarded to our office on or about February 23, .
2015. Unfortunately the paralegal at the time must have misfiled and/or misplaced the documents and it has become
my responsibility to secure copies ASAP.

If you would be so kind as to provide our office with duplicate copies of the documents previously provided, it would be
greatly appreciated. If necessary, Bloom & Freeling can forward a Fedex slip to cover postage.

Please contact our office upon receipt of this correspondence so that we may discuss this matter further. Thank you in
advance for your anticipated cooperation and prompt response.

Best regards,

Stacey Nafis, Paralegal

Bloom & Freeling

Attorneys At Law

2295 NW Corporate Blvd., Suite 117
Boca Raton, Florida 33431

Tel: 561-864-0000

Fax: 561-864-0001

This transmission is intended solely for the recipient who it is addressed to and the information contained in this
message is legally privileged and confidential information. If the reader of this message is not the designated
recipient, be aware that any disclosure, copying, distribution or use of the contents of this information is
prohibited. If you have received this message in error, please notify our office by telephone at (561) 864-0000
and destroy all copies of this message and any file attachments. Thank you.

Case 0:11-cv-62422-JIC Document 155 Entered on FLSD Docket 08/12/2016 Page 51 of 51

Stacey Nafis

From: Stacey Nafis <snafis@bloom-freeling.com>
Sent: Tuesday, August 02, 2016 2:07 PM

To: Perez, Leticia2

Subject: RE: Frenkel vs. Acunto LSI-07192016-4020160

Thank you so much for your assistance. If you couid please keep me updated on the signature cards and backup
material which remain outstanding, | would greatly appreciate it.

Have a great day!!

Stacey Nafis, Paralegal

Bloom & Freeling

Attorneys At Law

2295 NW Corporate Blvd., Suite 117
Boca Raton, Florida 33431

Tel: 561-864-0000

Fax: 561-864-0001

This transmission is intended solely for the recipient who it is addressed to and the information contained in this
message is legally privileged and confidential information. [f the reader of this message is not the designated
recipient, be aware that any disclosure, copying, distribution or use of the contents of this information is
‘prohibited. If you have received this message in error, please notify our office by telephone at (561) 864-0000
and destroy all copies of this message and any file attachments. Thank you.

From: Perez, Leticia2 [mailto:leticia2.perez@citi.com]
Sent: Tuesday, August 02, 2016 2:05 PM

To: Stacey Nafis

Subject: Frenkel vs. Acunto LSI-07192016-4020160

Stacey,

Thank you for taking the time to speak to me. I’ve sent the statements to Kushner Law, PL. They should
receive them tomorrow morning. The UPS tracking number is 1250E 7310102425323.

Thank You,

Aeticia Perey (Lettie)

Legal Litigation Support Unit
100 Citibank Drive, Bldg. 1, Flr. 2
San Antonio, Texas 78245
Phone: (210) 677-6978

